Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 1 of 14




                               EXHIBIT 1
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 2 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 3 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 4 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 5 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 6 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 7 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 8 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 9 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 10 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 11 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 12 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 13 of 14
Case 1:15-cv-22511-DPG Document 26-1 Entered on FLSD Docket 12/22/2015 Page 14 of 14
